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July 13, 2020


By ECF
Hon. Lewis J. Linman
United States District Judge
Daniel Patrick Moynihan United States Courthouse
500 Pearl Street
New York, NY 10007

             Re:   Convergen Energy WI LLC v. L’Anse Warden Electric Company LLC
                   SDNY Case No. 1:20-cv-05240-LJL
                   (Transferred from WIWD Case No. 3:20-cv-00543-wmc)

Dear Judge Liman:

       The above referenced case was transferred to the Southern District of New York on July 8,
2020. The case has been related to SDNY Case No. 20-cv-3746, in which I am admitted to practice
Pro Hac Vice. I will be filing a motion for Pro Hac Vice admission in this case as soon as I have
received a Certificate of Good Standing from the State Bar of Wisconsin.

        From Plaintiff’s perspective, Plaintiff’s Motion for Preliminary Injunction has been fully
briefed and Plaintiff requests the Court render a decision or hold a scheduling conference.

       At the time of the transfer of the case, the Defendant had filed Motion for Leave to File Sur-
Reply. The Plaintiff respectfully submits herewith a Response to Defendant’s Motion for Leave to
File Sur-Reply.

Very truly yours,
von BRIESEN & ROPER, s.c.




Benjamin LaFrombois, Esq.
BDL:sf
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